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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                              Case No. 1:06-CR-147

PATRICIA SUE BENORE,                                            Hon. Gordon J. Quist

                Defendant.

                                               /


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on September 1, 2006, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

                Defendant Patricia Sue Benore is charged in a five-count Indictment with the

possession and distribution of cocaine. She pled guilty to all five counts. On the basis of this record,

I found that defendant was competent to enter pleas of guilty and that her pleas were knowledgeable

and voluntary with a full understanding of each of the rights waived by the defendant, that the

defendant fully understood the nature of the charges and the consequences of her pleas, and that the

defendant's pleas had a sufficient basis in fact which contained all of the elements of the offenses

charged.

                There was no plea agreement in this case.


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               I accepted the pleas of guilty, subject to final acceptance of the pleas by the District

Judge. I ordered the preparation of a presentence investigation report, and directed the clerk to

procure a transcript of the plea hearing for review by the District Judge.

                                         Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to all counts of the Indictment be accepted, and that the court adjudicate the defendant guilty

of those charges.



Dated: September 1, 2006                      /s/ Hugh W. Brenneman, Jr.
                                              Hugh W. Brenneman, Jr.
                                              United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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